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10   FINISHMASTER, INC.
11
12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
15   JHONNY PINTO, an individual,               CASE NO. 2:18-CV-10773
16                   Plaintiff,                 DEFENDANT’S NOTICE OF
                                                REMOVAL OF CIVIL ACTION
17         v.                                   FROM STATE COURT
                                                PURSUANT TO 28 U.S.C. §§ 1332,
18   FINISHMASTER INC., an Indiana              1441, AND 1446
     corporation; and DOES 1-20,
19   inclusive,                                 [Diversity Jurisdiction]
20                   Defendants.
21
22
           PLEASE TAKE NOTICE THAT Defendant FinishMaster, Inc.
23
     (“FinishMaster”) hereby removes this matter from the Los Angeles Superior Court
24
     to the United States District Court for the Central District of California pursuant to
25
     28 U.S.C. §§ 1332, 1441, and 1446. The grounds for removal are set forth below.
26
                          Claims Asserted in Operative Complaint
27
           1.     On November 13, 2018 Plaintiff Jhonny Pinto (“Plaintiff”) filed a
28
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1    complaint in the Superior Court of the State of California for the County of Los
2    Angeles, Case No. 18STCV04593. That action was captioned JHONNY PINTO, an
3    individual v. FINISHMASTER, INC., an Indiana corporation; and DOES 1 through
4    20, inclusive. Plaintiff never served his original Complaint on FinishMaster.
5          2.     On November 19, 2018, Plaintiff filed a First Amended Complaint For
6    Damages (“FAC”). In the FAC, Plaintiff asserted claims for: (1) disability
7    discrimination in violation of the Fair Employment and Housing Act (“FEHA”),
8    California Government Code §§ 12940, et seq.; (2) retaliation in violation of
9    FEHA; (3) failure to prevent discrimination and retaliation in violation of FEHA;
10   (4) failure to provide reasonable accommodations in violation of FEHA; (5) failure
11   to engage in good faith in the interactive process in violation of FEHA; and (6)
12   wrongful termination in violation of public policy. The FAC was also filed in the
13   Superior Court of the State of California for the County of Los Angeles with the
14   same case number and caption.
15                       Compliance with Statutory Requirements
16         3.     Plaintiff served FinishMaster with his FAC on November 30, 2018.
17   FinishMaster’s removal of this action is timely because it filed the instant Notice of
18   Removal within 30 days of the date Plaintiff served FinishMaster with the pleading
19   setting forth a claim for relief. 28 U.S.C. § 1446(b); Fed. R. Civ. P. 6(a)(1).
20         4.      In accordance with 28 U.S.C. § 1446(a), attached hereto as Exhibits
21   1–9 are a “copy of all process, pleadings, and orders served upon [Defendant]” in
22   this action, along with those documents that were filed in the state court action that
23   were not served upon Defendant.
24         5.     FinishMaster filed its answer to Plaintiff’s FAC in Los Angeles
25   Superior Court on December 27, 2018. A true and correct copy of that answer is
26   attached as Exhibit 10.
27         6.     Pursuant to 28 U.S.C. § 1446(d), FinishMaster will promptly provide
28   written notice of removal of this action to Plaintiff’s counsel and promptly will file
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1    a copy of this Notice of Removal and the other necessary documents with the Clerk
2    of the Los Angeles County Superior Court.1
3                             Venue and Intradistrict Assignment
4          7.       Venue lies in the United States District Court for the Central District
5    of California pursuant to 28 U.S.C. §§ 1391(a) and 1441(a) because the FAC was
6    filed in this District. Pursuant to 28 U.S.C. § 1441(a), this case may properly be
7    removed to the Central District of California because Plaintiff filed this case in the
8    Superior Court of California, County of Los Angeles.
9                                     Jurisdiction: Diversity
10         8.       This Court has original jurisdiction over this matter pursuant to 28
11   U.S.C. § 1332 because this is an action between “citizens of different States” and
12   the “matter in controversy exceeds the sum or value of $75,000, exclusive of
13   interest and costs.” We explain the basis for diversity jurisdiction in the paragraphs
14   that follow.
15          A.      Plaintiff And Defendant Are Citizens Of Different States.
16         9.       Plaintiff alleges that he is a resident of California. (FAC ¶ 2.)
17   Therefore, Plaintiff is a citizen of California for purposes of diversity.
18         10.      FinishMaster is, and was at all times relevant to this action, a
19   corporation organized under the laws of Indiana with its principal place of business
20   in Indiana. (Melissa Goldbach Decl. ¶ 3.) Therefore, FinishMaster is a citizen of
21   Indiana for purposes of determining diversity. 28 U.S.C. § 1332(c)(1); see The
22   Hertz Corp. v. Friend, 130 S. Ct. 1181, 1192-93 (2010).
23         11.      All other defendants listed in the caption are fictitious defendants who
24   are ignored for the purposes of a diversity analysis. 28 U.S.C. § 1441(b)(1).
25         12.      Because Plaintiff is a citizen of California and FinishMaster is a citizen
26
     1
      A courtesy copy of FinishMaster’s “Notice to State Court and Adverse Party of Removal
27   of Civil Action From State Court to United States District Court for the Central District of
     California” (without exhibits), to be promptly filed with the Los Angeles County Superior
28   Court and served on Plaintiff, is attached as Exhibit 11 to this Notice of Removal.
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1    of Indiana, complete diversity exists between Plaintiff and FinishMaster. 28 U.S.C.
2    § 1332(a)(1).
3          B.     The Amount In Controversy Exceeds $75,000.
4          13.    Although FinishMaster does not concede liability in any way,
5    Plaintiff’s claims in this action place in controversy an amount in excess of the
6    $75,000 jurisdictional minimum. See 28 U.S.C. § 1332; see also Fritsch v. Swift
7    Transportation Co. of Arizona, LLC, 899 F.3d 785, 793 (9th Cir. 2018).
8          14.    In his FAC, Plaintiff does not allege a specific dollar amount in
9    damages. However, he does assert that he is entitled to general damages, special
10   damages, prejudgment interest, restitution, injunctive relief, punitive damages,
11   attorneys’ fees and costs, and post-judgment interest. (FAC, Prayer ¶¶ 1-6.) The
12   aggregate amount in controversy for Plaintiff’s claims based on the allegations in
13   the FAC for these elements of damage exceeds $75,000 as detailed in the
14   paragraphs that follow.
15                i.    General and Special Damages.
16         15.    Plaintiff seeks general and special damages under the FEHA, (FAC
17   ¶¶ 15-55; Prayer ¶ 1), which includes both back pay and front pay. See Cloud v.
18   Casey, 76 Cal. App. 4th 895, 909 (Cal. Ct. App. 1999).
19         16.    During his tenure at FinishMaster, Plaintiff held a position of a full-
20   time delivery driver. (Melissa Goldbach Decl. ¶ 4). During his last year of
21   employment, Plaintiff worked, on average, 35 hours per week. (Id. ¶ 6). At the
22   time of his termination (on or about July 29, 2017), Plaintiff earned $12 per hour.
23   (Id. ¶ 5.) Accordingly, Plaintiff was earning an average of approximately $420 per
24   week at the time of his termination. (Id. ¶ 6.)
25         17.    To conservatively analyze the amount in controversy, FinishMaster
26   will assume for purposes of these removal papers that Plaintiff can recover back
27   pay only for his wages after July 29, 2017, the date on which Plaintiff alleges he
28   was terminated. (See FAC ¶ 24.) FinishMaster is informed and believes that
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1    Plaintiff has not found alternative employment at any point after his separation
2    from FinishMaster because, among other things, Plaintiff does not allege that he has
3    found alternative employment in his FAC. (See generally id.) Accordingly, at the
4    time this Notice of Removal is filed, December 31, 2018, Plaintiff’s lost-back-pay
5    claim, without accounting for any additional benefits, will exceed $31,080.2
6    Simmons v. PCR Technology, 209 F. Supp. 2d 1029, 1032 (N.D. Cal. 2002)
7    (utilizing this method for calculating the lost wages prong of the plaintiff’s potential
8    damage award for the purposes of calculating the amount in controversy).
9          18.    In addition to seeking lost wages, Plaintiff further seeks to recover
10   general damages under FEHA. (FAC, Prayer ¶ 1). Among other things, Plaintiff
11   alleges he has suffered “mental pain and anguish and emotional distress and loss of
12   earning capacity.” (Id.) Again, Plaintiff has not articulated in his FAC the precise
13   dollar amount of his alleged pain, anguish, and emotional distress. In cases alleging
14   discrimination, damages awarded for emotional distress alone can and routinely do
15   exceed the $75,000 jurisdictional minimum established by 28 U.S.C. § 1332(a).
16   See e.g., Zhang v. Amer. Gem Seafoods, Inc., 339 F.3d 1020 (9th Cir. 2003)
17   (confirming award in discrimination lawsuit of in excess of $100,000 in emotional
18   distress damages); Espinoza v. County of Orange, No. 30200800110643, 2009 WL
19   6323832, at *1 (Cal. Super. Ct. Oct. 8, 2009) (jury award of $500,000 in emotional
20   damages against the plaintiff’s employer for a case in which the plaintiff alleged
21   disability discrimination, retaliation, wrongful discharge, and intentional infliction
22   of emotional distress). Assuming for purposes of removal that Plaintiff’s emotional
23   distress claim is worth only $50,000, the damages Plaintiff seeks for lost wages in
24   connection with his claims, amount to at least $81,080, which easily exceeds the
25   jurisdictional minimum of $75,000.
26                ii.    Punitive Damages.
27   2
      Plaintiff’s average weekly salary as of July 2017 was $420 ($12 per hour multiplied by
     35 hours per week). The period of July 29, 2017 to December 31, 2018 equals 74 weeks.
28   $420 multiplied by 74 is $31,080.
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1          19.    Plaintiff further seeks to recover what is often the most lucrative form
2    of relief in a suit of this nature: punitive damages. (FAC ¶¶ 33, 44, 49, 56, 63, 71;
3    Prayer ¶ 5). Because Plaintiff’s claims for punitive damages are authorized by
4    statute, they are properly considered when determining whether the amount in
5    controversy meets the jurisdictional threshold. Bell v. Preferred Life Assurance
6    Soc'y, 320 U.S. 238, 240 (1943) (“Where both actual and punitive damages are
7    recoverable under a complaint each must be considered to the extent claimed in
8    determining jurisdictional amount.”). Punitive damages greatly exceeding $50,000
9    have been upheld in discrimination suits that, like this one, were brought under
10   FEHA. E.g., McGee v. Tucoemas Fed. Credit Union, 63 Cal. Rptr. 3d 808, 816
11   (Cal. Ct. App. 2017) (affirming award of $1.2 million in punitive damages for
12   disability discrimination, retaliation, and other claims brought under FEHA);
13   Romero vs. Leon Max Inc., 2 Trials Digest 13th 21, 2009 WL 5258439 (Cal. Super.
14   Ct. Nov. 2, 2009) (jury award of $50,000 in punitive damages in case in which the
15   plaintiff claimed she had been discriminated against due to a physical disability, her
16   employer denied her request for accommodation, and terminated her). Assuming
17   for purposes of removal that Plaintiff’s punitive damages put in controversy are
18   $50,000, FinishMaster has satisfied the amount in controversy for purposes of
19   diversity when those fees are added to Plaintiff’s lost wages or emotional distress
20   damages.
21                iii.   Attorneys’ Fees.
22         20.    Finally, Plaintiff seeks to recover statutory attorneys’ fees pursuant to
23   FEHA, (FAC ¶¶ 34, 45, 50, 57, 64; Prayer ¶ 6), which amounts are also considered
24   when evaluating the amount in controversy for purposes of determining diversity
25   jurisdiction. See, e.g., Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir.
26   1998) (“[W]here an underlying statute authorizes an award of attorneys’ fees, either
27   with mandatory or discretionary language, such fees may be included in the amount
28   in controversy.”); Simmons, 209 F. Supp. 2d at 1035 (holding that where attorneys’
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1    fees are “recoverable by statute,” fees reasonably anticipated over the life of the
2    litigation are included in the amount in controversy analysis). Attorneys’ fees in
3    cases of this nature, which are taken through trial, often exceed $75,000. See e.g.,
4    Criswell v. Western Airlines, Inc., 709 F.2d 544 (9th Cir. 1983) (confirming award
5    of attorneys’ fees to a successful plaintiff totaling $313,309 in a discrimination
6    lawsuit). Assuming for purposes of removal that Plaintiff’s counsel will incur
7    attorneys’ fees of only $50,000 to prosecute Plaintiff’s claims through trial, which
8    is a significant underestimation of the actual fees at issue, FinishMaster has
9    satisfied the amount in controversy for purposes of diversity when those attorneys’
10   fees are added to Plaintiff’s lost wages or emotional distress damages.
11         21.     FinishMaster does not concede that Plaintiff has been damaged in any
12   amount or at all, or that he will prevail on any of his claims. If Plaintiff does
13   prevail on his claims, however, FinishMaster conservatively estimates the
14   combined total of lost wages and benefits, emotional distress damages, punitive
15   damages, and attorneys’ fees that may be awarded exceed this Court’s jurisdictional
16   minimum, as is shown by the chart below.
17         TYPE OF RELIEF SOUGHT                                AMOUNT IN
18                                                              CONTROVERSY
           Lost Wages                                           $31,080
19
           Emotional Distress                                   $50,000
20         Punitive Damages                                     $50,000
           Attorneys’ Fees:                                     $50,000
21
           TOTAL                                                $181,080
22
23          22.    The $75,000 amount in controversy requirement for diversity
24   jurisdiction is satisfied.
25                                    General Statement
26          23.    In alleging the amount in controversy for purposes of removal,
27   FinishMaster does not concede in any way that the allegations in Plaintiff’s FAC
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1    are accurate, or that Plaintiff is entitled to compensation for lost wages and
2    retirement and other benefits; monetary damages for emotional distress; punitive
3    damages; or attorneys’ fees and costs.
4          24.    Based on the allegations above, this action is properly removed to this
5    Court from the Superior Court of the State of California, County of Los Angeles.
6
7    Dated: December 31, 2018.                      JONES DAY
8
9                                                   By: s/Amanda Sommerfeld
                                                              Amanda Sommerfeld
10
                                                    Attorney for Defendant
11                                                  FINISHMASTER INC.
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